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                                         U.S. Department of Justice
[Type text]
                                                       United States Attorney
                                                       Southern District of New York
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007



                                                       June 17, 2021

BY ECF
The Honorable Gregory H. Woods
United States District Judge
Southern District of New York
Daniel Patrick Moynihan U.S. Courthouse
500 Pearl Street
New York, New York 10007

       Re:     United States v. Ethan Phelan Melzer, S1 20 Cr. 314 (GHW)

Dear Judge Woods:

        As the Court is aware, the Government’s anticipated Classified Information Procedures
Act (“CIPA”) submission in this matter is currently due by June 23, 2021. The Second Circuit has
held that to protect classified information from disclosure through a CIPA motion, the Government
must invoke the “state secrets” privilege, a process that requires the Government to coordinate
with various components of both the Department of Justice and other U.S. Government agencies.
See United States v. Aref, 533 F.3d 72, 80 (2d Cir. 2008) (specifying that the privilege must be
“lodged by the head of the department which has control over the matter, after actual personal
consideration by that officer” (internal citation and quotation omitted)). In order to allow sufficient
time for that process to be completed, the Counterintelligence and Export Control Section of the
National Security Division for the Department of Justice has instructed this Office to seek a four-
week extension of the Government’s deadline to file a motion pursuant to CIPA in this case with
respect to certain classified information.
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        Accordingly, the Government respectfully requests that the Court extend the date for its
CIPA motion until July 21, 2021. The Government has notified the defense of this application, and
the defense consents to the proposed extension.

                                            Respectfully submitted,

                                            AUDREY STRAUSS
                                            United States Attorney


                                     By:                      /s/                               a
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                                            Matthew Hellman
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cc: Defense Counsel (by ECF)
